                                                                                                 Electronically Filed - Jasper County - Joplin - November 07, 2019 - 02:35 PM
                                                                               19AO-AC02716

      IN THE ASSOCIATE CIRCUIT COURT OF JASPER COUNTY, MISSOURI
                               AT JOPLIN

JILL KIDWELL,                                )
                                             )
                             Plaintiff,      )
                                             )
                      v.                     )
                                             )     CASE NO. ____________________
WAL-MART REAL ESTATE                         )
BUSINESS TRUST,                              )
Serve: Wal-Mart Store East I, LP             )
       702 SW 8th Street                     )
       Bentonville, AR 72716                 )
                                             )
                             Defendant.      )



                                 PETITION FOR DAMAGES

       COMES NOW, Plaintiff Jill Kidwell, by and through her attorney of record, Anna

Sanderson of the law firm Johnson, Vorhees and Martucci, and for her Petition against

Defendant Wal-Mart, Inc. states and avers as follows:

       1.      Plaintiff Jill Kidwell is a resident of Purcell, Jasper County, Missouri.

       2.      At all times herein mentioned Defendant Wal-Mart, Inc. (hereinafter “Wal-Mart”)

owned, possessed, and/or controlled the premises located at 2705 Grand Ave., Carthage, MO

64836, where the retail store known as “Wal-Mart, Store #13” is located. As owners of the

premises, Defendant Wal-Mart had a duty to maintain the property in a safe condition for

invitees who would enter the premises.

       3.      The tortious act complained of herein occurred in Jasper County, Missouri,

providing this Court with jurisdiction and venue over these claims.



                                          PREMISES LIABILITY




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       4.      Plaintiff hereby incorporates the allegations of paragraphs 1 through 3, above, as

though set forth fully herein.

       5.      On or about April 2, 2019, Plaintiff Jill Kidwell was a customer and business

invitee at Wal-Mart located in Carthage, Missouri.

       6.      As Plaintiff was walking down Defendant’s aisle, her foot encountered a wet and

slippery substance on the floor.

       7.      The wet and slippery floor constituted a dangerous condition that was unknown to

Plaintiff but was known or should have been known to Defendants.

       8.      The dangerous condition presented an unreasonable risk of harm to individuals,

including Plaintiff, who walked down the aisle and who were unaware of the wet and slippery

substance on the floor.

       9.      Due to the dangerous condition of the pathway, Plaintiff Jill Kidwell fell, causing

injury to her head, right shoulder, left knee and back.

       10.     As a result of the above referenced injuries, Plaintiff Jill Kidwell was required to

seek medical treatment.

       11.     At all times herein concerned, Defendant had possession and/or actual control

over, and/or owned the aisle.

       12.     Defendant had a duty of ordinary care to maintain the pathway of the aisle, to

warn visitors of the dangerous condition in the aisle, and/or to barricade the aisle due to the

dangerous condition.

       13.     No warning signs or barricades were placed by Defendant to warn customers,

including Plaintiff, of potential dangers or to block visitors from hazards existing in the aisle.




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                                                                                                       Electronically Filed - Jasper County - Joplin - November 07, 2019 - 02:35 PM
       14.       The injuries and damages suffered by Plaintiff are the direct and proximate result

of the negligence of Defendant in one, more, or all of the following particulars:

                 a.     allowing the aisle in a high traffic area to become wet and slippery causing

                        a hazard;

                 b.     choosing not to inspect the aisle to look for dangerous conditions, such as

                        the one presented by the wet and slippery floor;

                 c.     choosing not to use ordinary care to remedy, barricade, guard against or

                        warn about the dangerous condition presented by the wet and slippery

                        substance, when Defendant knew or in the exercise of ordinary care could

                        have known about; and

                 d.     failing to maintain a safe aisle where individuals could walk.

       15.       Defendant’s negligence, carelessness, faults and omissions directly and

proximately caused or contributed to cause Plaintiff Jill Kidwell to sustain bodily injury to her

head, right shoulder, left knee and back. Plaintiff has incurred and will continue to incur a

substantial sum for medical and health care and treatment. Plaintiff was caused and continues to

have pain, suffering, and inconvenience as a result of her injuries.

       WHEREFORE, Plaintiff Jill Kidwell prays judgment against Defendant Wal-Mart, Inc.

for damages in an amount not to exceed the sum of $74,999.00, exclusive of interest or cost, for

her costs incurred herein, and for such other amounts as the court deems just and proper under the

circumstances.




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                                                                          Electronically Filed - Jasper County - Joplin - November 07, 2019 - 02:35 PM
                                      Respectfully Submitted,

                                      JOHNSON, VORHEES & MARTUCCI

                                      By: /s/ Anna Sanderson
                                      Anna Sanderson MO Bar No. 69321
                                      Scott J. Vorhees MO Bar No. 52412
                                      510 West 6th Street
                                      Joplin, Missouri 64801
                                      (417) 206-0100
                                      (417) 206-0110 (fax)
                                      anna@4stateslaw.com
                                      scott@4stateslaw.com
                                      Attorneys for Plaintiff
ATTORNEY LIEN CLAIMED
JURY TRIAL DEMANDED




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                                                                                                Electronically Filed - Jasper County - Joplin - November 07, 2019 - 02:35 PM
                                                                         19AO-AC02716

      IN THE ASSOCIATE CIRCUIT COURT OF JASPER COUNTY, MISSOURI
                               AT JOPLIN

JILL KIDWELL,                              )
                                           )
                             Plaintiff,    )
                                           )
                     v.                    )
                                           )    CASE NO. ____________________
WAL-MART REAL ESTATE                       )
BUSINESS TRUST,                            )
Serve: Wal-Mart Store East I, LP           )
       702 SW 8th Street                   )
       Bentonville, AR 72716               )
                                           )
                             Defendant.    )

                                CERTIFICATE OF SERVICE
                                Enclosed for filing of record, please find:
       •    Petition for Damages
       •    Filing Fee in the amount of $46.50 is paid at the time of electronic filing.
       •    Please prepare a summons for Registered Agent for Defendant:
            Defendant Wal-Mart Real Estate Business Trust can be served by the Benton
            County Sheriff by serving its Registered Agent at 702 SW 8th Street, Bentonville,
            AR 72716.



                                                   Respectfully Submitted,

                                                   JOHNSON, VORHEES & MARTUCCI

                                                   By: /s/ Anna Sanderson
                                                   Anna Sanderson MO Bar No. 69321
                                                   Scott J. Vorhees MO Bar No. 52412
                                                   510 West 6th Street
                                                   Joplin, Missouri 64801
                                                   (417) 206-0100
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                                                   anna@4stateslaw.com
                                                   scott@4stateslaw.com
                                                   Attorneys for Plaintiff




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              IN THE 29TH JUDICIAL CIRCUIT, JASPER COUNTY, MISSOURI

 Judge or Division:                                         Case Number: 19AO-AC02716
 JOSEPH L HENSLEY
 Plaintiff/Petitioner:                                      Plaintiff’s/Petitioner’s Attorney/Address or
 JILL M KIDWELL                                             Pro Se’s Address/Telephone Number:
                                                      vs.   ANNA SANDERSON
 Defendant/Respondent:                                      510 WEST SIXTH STREET
 WALMART STORE #13 CARTHAGE MO                              JOPLIN, MO 64801
                                                            (417) 206-0100
                                                                                                                                      FILED
 Nature of Suit:                                            Date, Time and Location of Court Appearance:                   MELISSA HOLCOMB- CLERK
 AC Pers Injury-Other                                       06-JAN-2020 09:00 AM                                           Thursday, November 07, 2019
                                                                                                                                 JASPER COUNTY
                                                            Division V - Joplin                                                  CIRCUIT COURT
                                                            601 S. Pearl                                                        JOPLIN, MISSOURI
                                                            JOPLIN, MO 64801                                                       (Date File Stamp)
                          Summons for Personal Service Outside the State of Missouri
                                                      (Associate Division Cases)
 The State of Missouri to: WALMART STORE #13 CARTHAGE MO
                           Registered Agent: 702 SW 8th STREET, BENTONVILLE, AR 72716
  2705 GRAND AVENUE
  CARTHAGE, MO 64836

      COURT SEAL OF           You are summoned to appear before this court on the date, time and location above, to answer the
                              allegation in the petition filed by the above-named plaintiff/petitioner, a copy of which is attached. If you fail
                              to appear at the time and place stated in this summons, judgment by default will be taken against you for
                              the relief demanded in the petition.
                              If you have a disability requiring special assistance for your court appearance, please contact the court at
                              least 48 hours in advance of scheduled hearing.
     JASPER COUNTY                                                                                   /s/ Crystal Hornback
                                               11/7/2019
                                 _____________________________                            _________________________________________
                                                   Date                                                       Clerk
                              Further Information:                                                Melissa Holcomb- Circuit Clerk
                                                Officer’s or Server’s Affidavit of Service
     Note to serving officer: Service must not be made less than 10 days nor more than 60 days from the date the
                                  defendant/respondent is to appear in court.
     I certify that:
     1. I am authorized to serve process in civil actions within the state or territory where the above summons was served.
     2. My official title is ___________________________ of ___________________________ County, _______________ (state)
     3. I have served the above summons by: (check one)
                 delivering a copy of the summons and a copy of the petition to the defendant/respondent.
                leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the
                defendant/respondent with _______________________________________, a person of the defendant’s/respondent’s
                family over the age of 15 years who permanently resides with the defendant/respondent.
                 (for service on a corporation) delivering a copy of the summons and a copy of the petition to:
                ________________________________________ (name) ___________________________________________ (title).
              other: _________________________________________________________________________________________.
     Served at _____________________________________________ (address) in ________________________________ County,
     __________________ (state) on this _______________________ (date) at ______________ (time).
     _______________________________________________                       ________________________________________________
                  Printed Name of Sheriff or Server                                            Signature of Sheriff or Server
                           Subscribed and sworn to before me this _________ (day) ____________ (month) ________ (year).
                           I am: (check one) the clerk of the court of which affiant is an officer.
                                             the judge of the court of which affiant is an officer.
         (Seal)                              authorized to administer oaths in the state in which the affiant served the above
                                             summons. (use for out-of-state officer)
                                             authorized to administer oaths. (use for court-appointed server)
                                                                        ________________________________________________________
                                                                                         Signature and Title
     Summons Fees
     Summons $ _________________
     Non Est  $ _________________
     Mileage  $ _________________ (______ miles @ $ ._______ per mile)

OSCA (07-18) SM70 (ASOS) For Court Use Only: Document ID# 19-ASOS-71
                     Case 3:19-cv-05101-SRB Document 1-11 ofFiled
                                                            2 (19AO-AC02716)    Rules 54.06, 54.07, 54.14, 54.20;
                                                                  12/13/19 Page 506.500,
                                                                                6  of 7 506.510, 517.041 RSMo
     Total        $ _________________
                            See the following page for directions to officer making return on service of summons.



                                Directions to Officer Making Return on Service of Summons

     A copy of the summons and a copy of the motion and/or petition must be served on each defendant/respondent. If
     any defendant/respondent refuses to receive the copy of the summons and motion and/or petition when offered to
     him, the return shall be prepared to show the offer of the officer to deliver the summons and motion and/or petition
     and the defendant’s/respondent's refusal to receive the same.

     Service shall be made: (1) On Individual. On an individual, including an infant or incompetent person not having a
     legally appointed guardian, by delivering a copy of the summons and motion and/or petition to the individual
     personally or by leaving a copy of the summons and motion and/or petition at the individual's dwelling house or
     usual place of abode with some person of the family over 15 years of age who permanently resides with the
     defendant/respondent, or by delivering a copy of the summons and motion and/or petition to an agent authorized by
     appointment or required by law to receive service of process; (2) On Guardian. On an infant or incompetent person
     who has a legally appointed guardian, by delivering a copy of the summons and motion and/or petition to the
     guardian personally; (3) On Corporation, Partnership or Other Unincorporated Association. On a corporation,
     partnership or unincorporated association, by delivering a copy of the summons and motion and/or petition to an
     officer, partner, or managing or general agent, or by leaving the copies at any business office of the
     Defendant/Respondent with the person having charge thereof or by delivering copies to its registered agent or to
     any other agent authorized by appointment or required by law to receive service of process; (4) On Public or Quasi-
     Public Corporation or Body. On a public, municipal, governmental or quasi-public corporation or body in the case of
     a county, to the mayor or city clerk or city attorney in the case of a city, to the chief executive officer in the case of
     any public, municipal, governmental, or quasi-public corporation or body or to any person otherwise lawfully so
     designated.

     Service may be made by an officer or deputy authorized by law to serve process in civil actions within the state or
     territory where such service is made.

     Service may be made in any state or territory in the United States. If served in a territory, substitute the word
     "territory" for the word "state."

     The officer making the service must swear an affidavit before the clerk, deputy clerk, or judge of the court of which
     the person is an officer or other person authorized to administer oaths. This affidavit must state the time, place, and
     manner of service, the official character of the affiant, and the affiant's authority to serve process in civil actions
     within the state or territory where service is made.

     Service must not be made less than 10 days nor more than 60 days from the date the defendant/respondent is to
     appear in court. The return should be made promptly, and in any event so that it will reach the Missouri court within
     30 days after service.




OSCA (07-18) SM70 (ASOS) For Court Use Only: Document ID# 19-ASOS-71
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                                                            2 (19AO-AC02716)    Rules 54.06, 54.07, 54.14, 54.20;
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                                                                                7  of 7 506.510, 517.041 RSMo
